               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA             )
                                     )
Plaintiff,                           )
                                     )
     v.                              )    Case No. 19-00172-CR-W-HFS
                                     )
WILLIAM WASMER                       )
                                     )
Defendant.                           )

                                     ORDER

      The Supplemental Report and Recommendation (Doc. 57) has been

reviewed, together with the underlying material, and is ADOPTED.

      Consequently, the motion to suppress (Doc. 19) is DENIED, and the initial

Report and Recommendation (Doc. 42) is now MOOT.


      SO ORDERED.
                                            s/ HOWARD F. SACHS
                                            HOWARD F. SACHS
                                            UNITED STATES DISTRICT COURT


July 9, 2020
Kansas City, Missouri



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